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 7

 8                           UNITED STATES BANKRUPTCY COURT
                              CENTRAL DISTRICT OF CALIFORNIA
 9                             SAN FERNANDO VALLEY DIVISION
10

11   In re                                       Case No.: 1:21-bk-10079-MT
12   ARA ERIC HUNANYAN,                          Chapter:   7
13                                               CHAPTER 7 TRUSTEE’S RESPONSE TO
                                       Debtor.   UNITED STATES TRUSTEE’S
14                                               OBJECTIONS TO EMPLOY RODEO
                                                 REALTY INC. AS REAL ESTATE
15                                               BROKER, AND GROBSTEIN TEEPLE LLP
                                                 AS ACCOUNTANTS EFFECTIVE
16                                               JANUARY 28, 2021
17                                               Date: May 19, 2021
                                                 Time: 10:30 a.m.
18                                               Place: Courtroom 302
19                                                      United States Bankruptcy Court
                                                        21041 Burbank Blvd.
20                                                      Woodland Hills, California, 91367

21

22

23   TO THE HONORABLE MAUREEN TIGHE, UNITED STATES BANKRUPTCY JUDGE;
24   THE OFFICE OF THE UNITED STATES TRUSTEE; AND OTHER PARTIES IN
25   INTEREST:
26           Nancy J. Zamora, the Chapter 7 trustee (the “Trustee”) for the bankruptcy estate
27   (the “Bankruptcy Estate”) of Ara Eric Hunanyan (the “Debtor”), hereby responds (the
28
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 1   “Response”) to the objections (“Objection” or “Objections”)1 of the United States Trustee
 2   (the “UST”) to the employment applications of Rodeo Realty, Inc. as real estate broker
 3   [Dkt. No. 15] (“RR” or the “RR Application”), and Grobstein Teeple LLP as accountants
 4   effective January 28, 2021 [Dkt. No.18] (“GT” or the “GT Application”; GT an RR,
 5   collectively, the Applicants; and the GT Application and the RR Application, collectively,
 6   the “Applications”)2, and responds as follows.
 7                                                      I.
 8                      The Court Need Not Create Facts Or Rewrite History
 9                        To Approve Employment Of GT and RR As Of The
10                                 Date Services Were First Rendered
11           Both of the UST’s Objections take issue with the proposed effective date of
12   employment of the respective professionals, citing the Supreme Court’s ruling in Roman
13   Catholic Archdiocese of San Juan, Puerto Rico v. Acevedo Feliciano, 140 S.Ct. 696
14   (2020)(“Acevedo”). The UST’s interpretation of Acevedo is overly expansive and would
15   create a gap period in most cases between when a professional begins services on
16   behalf of the estate and when such professional’s employment is considered “effective”
17   for purposes of compensation under Section 330. This would be a massive deviation
18   from the practices of this Court for over twenty years.
19           In Acevedo, an action pending in the Puerto Rico Court of First Instance was
20   removed to federal district court, which ultimately remanded the case back to the Court
21   of First Instance. However, prior to the district court’s remand order, the Court of First
22   Instance issued payment and seizure orders. Acevedo at p. 700 The district court’s order
23   remanding the action was issued nunc pro tunc to a date prior to the issuance of the
24   payment and seizure orders. Id. The jurisdiction of the Court of First Instance to issue
25   such orders was challenged and the Supreme Court articulated a standard by which
26   federal courts may not use nunc pro tunc orders that create “‘facts’ that never occurred
27
     1  The UST’s Objections to RR’s Application and GT’s Application are Dkt. Nos. 17 and 31, respectively.
28   2
       Capitalized terms not otherwise defined herein shall have the meanings ascribed to them
     in the Applications.
                                                         2
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 1   in fact.” Acevedo at 700-01. This standard was consistent with already existing Ninth
 2   Circuit authority on the limitations of the use of nunc pro tunc relief. The Acevedo case
 3   dealt with the attempt to create jurisdiction where none existed in order to validate
 4   actions that already took place. It is inapplicable in the instant case.
 5          The UST’s reliance on Acevedo is based on the Eastern District of California
 6   Bankruptcy Court’s decision in In re Miller, 620 B.R. 637 (Bankr.E.D.CA. 2020), in which
 7   Judge Jaime found that Acevedo prohibited a retroactive effective date for employment,
 8   yet approval of fees retroactively would be allowed under Section 330. This decision
 9   appears to be internally inconsistent. The Miller court noted that Acevedo did not act as
10   a complete prohibition on nunc pro tunc orders in the bankruptcy context citing Sherman
11   v. Harbin (In re Harbin), 486 F.3d 510 (9th Cir. 2007)(“Harbin”). In Harbin “the Ninth
12   Circuit contrasted nunc pro tunc orders with the equitable discretion that remains with
13   bankruptcy courts to grant retroactive approval under provisions of the Bankruptcy Code
14   which do not expressly require approval to precede the approved act. Harbin, 486 F.3d
15   at 515 n. 4, 521-22.” Miller, at ___. The Ninth Circuit affirmed the bankruptcy court’s
16   order that retroactively approved post-petition financing obtained by a debtor-in-
17   possession that was used to finance a chapter 11 plan. The Harbin Court took issue with
18   the use of the term “nunc pro tunc”, stating that it was a misnomer in the context of a
19   motion to approve financing, stating at footnote 4:
20                 Nunc pro tunc amendments are permitted primarily so that
                   errors in the record may be corrected. The power to amend
21                 nunc pro tunc is a limited one, and may be used only where
                   necessary to correct a clear mistake and prevent injustice. It
22                 does not imply the ability to alter the substance of that which
                   actually transpired or to backdate events to serve some other
23                 purpose. Rather, its use is limited to making the record reflect
                   what the . . . court actually intended to do at an earlier date,
24                 but which it did not sufficiently express or did not accomplish
                   due to some error or inadvertence.
25
            United States v. Sumner, 226 F.3d 1005, 1009-10 (9th Cir. 2000) (internal
26          quotation marks and citations omitted); see also In re Singson, 41 F.3d 316, 318
            (7th Cir. 1994) (observing that the Latin phrase, "nunc pro tunc" authorization,
27          literally "now for then," refers to situations in which the court, after discovering that
            its records do not accurately reflect its actions, corrects the records to show what
28          actually happened). Therefore, it is more accurate to refer to the bankruptcy

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            court's approval of the post-petition refinancing of Harbin's residence as
 1          "retroactive approval."
 2          Nevertheless, given the prevalent use of "nunc pro tunc" in the bankruptcy context
            to refer to retroactive authorization, we will continue to use this customary
 3          formulation here.
 4          The Harbin court rightfully points out “nunc pro tunc” relief only applies to a
 5   narrow set of circumstances in which the Court needs to make an order retroactive to
 6   correct a mistake and accurately reflect the Court’s actions. This was what the Supreme
 7   Court confronted in Acevedo when the district court created a set of facts, not to correct
 8   an error in the record based on the district court’s prior decisions, but to create
 9   jurisdiction where none previously existed.
10          Though Harbin is consistent with Acevedo, Miller remains out of step with Harbin
11   as the Miller court missed the critical distinction between reinventing facts to fit a certain
12   result versus retroactive approval of an act otherwise authorized by statute that has no
13   prerequisite for obtaining prior approval.
14          [N]othing in the language of the Bankruptcy Code precludes the court from
            considering nunc pro tunc authorization [**25] of the refinancing as one
15          possible remedy in response to the "equities of the situation" before it. See
            Norwest Bank Worthington v. Ahlers, 485 U.S. 197, 206, 108 S. Ct. 963, 99
16          L. Ed. 2d 169 (1988) ("whatever equitable powers remain in the bankruptcy
            courts must and can only be exercised within the confines of the
17          Bankruptcy Code"). Section 364(c)(2) does not, by its express terms,
            require the bankruptcy court to authorize the financing transaction before
18          the debt is incurred. Therefore, should a debtor improperly obtain secured
            financing without prior court authorization, a bankruptcy court's exercise of
19          its equitable discretion in granting nunc pro tunc approval pursuant to
            section 364(c)(2) will not be "inconsistent" with the express provisions of
20          the Bankruptcy Code.
21          Harbin, at 522.
22          As the Ninth Circuit pointed out, there is no statutory predicate that approval must
23   be obtained prior to obtaining financing under Section 364(c)(2), and that failure to do so
24   can be remedied based on the Court’s equitable powers so long as they are consistent
25   with the Bankruptcy Code. Likewise, the language of Section 327(a) does not
26   mandate prior court approval of employment of a professional.
27          The rationale of Harbin can equally be applied to the instant applications for
28   employment that seek approval of the effective date in employment that precedes the

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 1   date when the order approving employment can be entered. There are no “facts” that
 2   have to be created for this to occur, nor is there an error that the Court needs to correct.
 3   The Trustee recognizes that such retroactive approval must be an exception as dictated
 4   by the equities of the case. However, applying a similar analysis as to that used for
 5   retroactive approval of Section 364(c)(2) orders, retroactive approval of the employment
 6   of GT and RR is appropriate. Harbin cited the four-part test used to determine if
 7   retroactive approval of post-petition financing is appropriate.
 8          [W]e distill four factors that the bankruptcy court should consider in
            determining whether to exercise its equitable discretion to grant nunc pro
 9          tunc approval of post-petition financing under section 364(c)(2): (1)
            whether the financing transaction benefits the bankruptcy estate; (2)
10          whether the creditor has adequately explained its failure to seek prior
            authorization or otherwise established that it acted in good faith when it
11          failed to seek prior authorization; (3) whether there is full compliance with
            the requirements of section 364(c)(2); and (4) whether the circumstances
12          of the case present one of those rare situations in which retroactive
            authorization is appropriate. See McConville, 110 F.3d at 50; Atkins, 69
13          F.3d at 974. Provided that these criteria are met, the bankruptcy court may,
            but need not, grant an application for nunc pro tunc authorization.
14
            A similar test can be articulated in the context of employment applications
15
     whereby the Court can exercise its equitable authority to approve an effective date for
16
     employment that precedes the date of entry of the Court’s order. Using the nunc pro
17
     tunc analysis in Harbin as a guide, the Court can approve the applications of GT and RR
18
     to the respective effective dates. First, the employment of both GT and RR will benefit
19
     the bankruptcy estate as set forth in the applications and elsewhere herein. Second, the
20
     professionals did not seek prior court authority as such had never been the standard in
21
     the Central District of California and obtaining prior approval would have necessitated
22
     putting the employment applications before the Court on an emergency basis. Third, GT
23
     and RR have otherwise met all the necessary requirements for employment under
24
     Section 327 and 328. Fourth, employment with an effective date that precedes the date
25
     of entry of the Court’s order approving same is appropriate when the professional does
26
     not otherwise delay in filing an employment application.
27
     ///
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 1                                                       II.
 2       The Balance of the UST’s Objections to RR’s Application are Premature for
 3                                  Purposes of an Employment Application
 4           The UST’s objection to RR’s employment alleges that the RR Application is silent
 5   as to the Bankruptcy Estate’s benefit in retaining RR’s services and sale of Debtor’s
 6   properties. The UST’s reservations are premature at the employment stage and should
 7   be reserved for a later time. Specifically, the issues raised in the UST’s Objection is a
 8   sale motion issue, not an employment application issue.
 9           The UST’s concerns regarding an analysis regarding exempt proceeds from the
10   liquidation of the Debtor’s asset and a detailed discussion regarding a supposed carve-
11   out, again, are premature at the employment phase. Nevertheless, with respect to the
12   referenced carve-out, the Trustee is currently engaged with the probate estate of Azniv
13   Kokikian (deceased) aka Azniv Ann Kokikian aka Azniv Meguerian (the “Kokikian
14   Estate”) have entered into an agreement in principle that is currently being documented
15   and will be presented to this Court for approval via a FRBP 9019 compromise motion
16   (“9019 Motion”). For purposes of this Response, the Trustee is not prepared to disclose
17   specific terms of that agreement until that agreement is executed.3 Given the
18   documented antics of, manipulation by, and strategic acts by the Debtor, the Trustee
19   remains cautious about revealing specifics of that agreement prior to filing the 9019
20   Motion. The Trustee is prepared to submit that the settlement agreement, if approved,
21   will allow the Trustee to obtain funds sufficient to make a meaningful distribution to
22   unsecured creditors in the Bankruptcy Case.
23           Finally, the UST’s Objection to the RR Application asserts that the proposed 2.5%
24   commission for RR in the event of a settlement should not be approved pursuant to 11
25   U.S.C. § 328. The Trustee does not believe that the Objection extends to the normal
26   sale commission otherwise requested in the event that RR assisted the Trustee with a
27

28   3
      Should the Court require, the Trustee is prepared to present the draft settlement agreement for in
     camera review.
                                                         6
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 1   sale of real estate. The Trustee submits that it was not her intent to request approval of
 2   the 2.5% commission in a settlement context under Section 328, and that approval of
 3   such is requested and appropriate under Section 330 such that the Court has authority
 4   to approve such fee should it otherwise be earned in the context of a settlement as
 5   opposed to a sale.
 6                                               III.
 7                                        CONCLUSION
 8         For the foregoing reasons, the Trustee requests that the Court overrule the UST’s
 9   objections, and authorize RR and GT’s employment pursuant to their respective
10   employment applications.
11

12   May 12, 2021                             MARGULIES FAITH, LLP
13
                                              By: /s/ Jeremy W. Faith     .
14                                                  Jeremy W. Faith
                                                    Ori S. Blumenfeld
15                                                  Attorneys for
                                                    Nancy J. Zamora, Chapter 7 Trustee
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
16030 Ventura Blvd., Suite 470, Encino, CA 91436

A true and correct copy of the foregoing document entitled CHAPTER 7 TRUSTEE’S RESPONSE TO UNITED STATES
TRUSTEE’S OBJECTIONS TO EMPLOY RODEO REALTY INC. AS REAL ESTATE BROKER, AND GROBSTEIN
TEEPLE LLP AS ACCOUNTANTS EFFECTIVE JANUARY 28, 2021 will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
May 12, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

       ATTORNEY FOR INTERESTED PARTY Shraddha Bharatia notices@becket-lee.com
       ATTORNEY FOR TRUSTEE: Ori S Blumenfeld Ori@MarguliesFaithLaw.com,
        Helen@MarguliesFaithLaw.com;Angela@MarguliesFaithLaw.com;Vicky@MarguliesFaithLaw.com
       ATTORNEY FOR TRUSTEE: Jeremy Faith Jeremy@MarguliesFaithlaw.com,
        Helen@MarguliesFaithlaw.com;Angela@MarguliesFaithlaw.com;Vicky@MarguliesFaithlaw.com
       ATTORNEY FOR US TRUSTEE: Kenneth Misken Kenneth.M.Misken@usdoj.gov
       UNITED STATES TRUSTEE (SV) ustpregion16.wh.ecf@usdoj.gov
       CHAPTER 7 TRUSTEE: Nancy J. Zamora (TR) zamora3@aol.com, nzamora@ecf.axosfs.com
       ATTORNEY FOR DEBTOR: Stephen L Burton steveburtonlaw@aol.com, ellie.burtonlaw@gmail.com




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On May 12, 2021, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

JUDGE: Pursuant to Amended General Order 20-12, Filed December 8, 2020, no Judge’s copy is being served.
DEBTOR: Ara Eric Humanyan 16925 Gault Street, Los Angeles, CA 91406

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on ___________, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                            Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  May 12, 2021                             Angela Saba                                           /s/ Angela Saba
  Date                                       Printed Name                                        Signature

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
